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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

ANNAMARIE TROMBETTA,

                 Plaintiff,

        -v-                                                           No. 18 -cv-00993

NORB NOVOCIN, et al.,                                                              ORDER

                 Defendants.

-------------------------------------------------------x


                 The Court has received Plaintiff’s “motion to correct or motion to reconsider

Judge Cave’s Order & Opinion ECF 509.” Defendants are directed to file their opposition, if

any, by July 25, 2023. Plaintiff Trombetta’s reply to the opposition, if any, must be filed by

August 1, 2023.



         SO ORDERED.

 Dated: New York, New York                                  _/s/ LAURA TAYLOR SWAIN______
        July 11, 2023                                       LAURA TAYLOR SWAIN
                                                            Chief United States District Judge




TROMBETTA - SCHEDORDV4                                     VERSION JULY 11, 2023                 1
